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                     UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF MISSOURI
                           ST. LOUIS DIVISION

THE STATE OF ARKANSAS; THE STATE OF MIS-
SOURI; THE STATE OF IOWA; THE STATE OF NE-
BRASKA; THE STATE OF NORTH DAKOTA; THE
STATE OF SOUTH DAKOTA; A.F., a minor, by Sara
Ford, her mother,

                             Plaintiffs,

v.

UNITED STATES DEPARTMENT OF EDUCATION; MI-
GUEL CARDONA, in his official capacity as Secre-
tary of the United States Department of Education;    Case No.: 4:24-cv-636
CATHERINE E. LHAMON, in her official capacity as
Assistant Secretary for Civil Rights at the United
States Department of Education; RANDOLPH
WILLS, in his official capacity as Deputy Assistant
Secretary for Enforcement at the United States De-
partment of Education,

                             Defendants.




                SUPPLEMENTAL BRIEF ON PLAINTIFFS’ STANDING
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       The Final Rule would preempt the laws of the Plaintiff States and directly regulates their

instrumentalities. It would also require Plaintiff A.F. to adhere to a speech code and share locker

rooms, bathrooms, and showers with males who identify as female. Only preliminary relief be-

fore the Final Rule’s August 1 effective date can prevent those injuries.

                                           ARGUMENT

       To establish standing, a plaintiff must demonstrate (1) an injury in fact; (2) that the injury

is fairly traceable to the defendant’s action; and (3) that the injury will be redressed by a favora-

ble decision. See Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992). “[T]he presence of one

party with standing is sufficient to satisfy Article III's case-or-controversy requirement.”

Rumsfeld v. Forum for Acad. & Institutional Rights, Inc., 547 U.S. 47, 52, n.2 (2006). Plaintiffs

are injured by the new mandates imposed by the Final Rule, and a favorable decision from this

Court enjoining the Final Rule from taking effect will redress those injuries. That satisfies Arti-

cle III, as every court to consider a State-led challenge to the Biden administration’s gender-

identity Title IX policies (both its guidance and the Final Rule) has held.

I.     Plaintiffs have demonstrated an injury-in-fact.

       A.      Plaintiff States are injured by the Final Rule.

       Plaintiff States are injured by the Final Rule in two critical ways. First, it impairs their

sovereignty by preempting Plaintiff States’ duly enacted laws. Second, it directly regulates the

Plaintiff States and imposes obligations on them.

               1.      Plaintiff States have sovereign injuries.

       Plaintiff States suffer injuries as sovereigns due to the inability to fully enforce their duly

enacted laws. “[A] State clearly has a legitimate interest in the continued enforceability of its

own statutes.” Maine v. Taylor, 477 U.S. 131, 137 (1986); see also Alfred L. Snapp & Son, Inc.



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v. Puerto Rico ex rel. Barez, 458 U.S. 592, 601 (1982) (recognizing a State’s “sovereign inter-

est[]” in “creat[ing] and enforc[ing] a legal code”). And a long line of precedent confirms that

States may seek injunctive relief in federal court to protect that interest. See, e.g., Massachusetts

v. EPA, 549 U.S. 497, 520 (2007) (allowing Massachusetts to seek relief under the APA to “pro-

tect[] its quasi-sovereign interests”); Wyoming ex rel. Crank v. United States, 539 F.3d 1236,

1242 (10th Cir. 2008) (explaining that “[f]ederal regulatory action that preempts state law creates

a sufficient injury-in-fact to satisfy” Article III).

        The Final Rule aims to preempt all “State or local laws or other requirements” that con-

flict with its terms. 89 Fed. Reg. at 33,885. As explained in previous briefing (and largely un-

contested by Defendants), numerous statutes of Plaintiff States will become unenforceable on ac-

count of the Final Rule, on pain of losing billions of dollars in federal funds. To summarize, the

Final Rule’s redefinition of “sex-based harassment” will require funding recipients to police the

speech of their students, imposing a requirement that students use whatever pronoun a

transgender-identifying student wishes to be referred by regardless of whether that’s consistent

with his or her sex. See 89 Fed. Reg. at 33,510-11. The Final Rule thus preempts: (1) Arkan-

sas’s Given Name Act, which (A) prohibits school officials from addressing students with an in-

correct pronoun without the written permission of the student’s parent or guardian, and (B) pro-

tects school officials and students from adverse action for failing to address a person with a inac-

curate pronoun, Ark. Code Ann. 6-1-108(d)(2); (2) Arkansas’s Religious Viewpoint Antidiscrim-

ination Act, which protects students expressing religious viewpoints, including the use of correct

pronouns, from discrimination, Ark. Code Ann. 6-10-139; (3) North Dakota’s law prohibiting

government entities from requiring their employees to use inaccurate pronouns, N.D.C.C. 14-




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02.4-15.2(1); and (4) Iowa’s law requiring school officials to inform a student’s parents or guard-

ians if the student requests to be addressed using an inaccurate pronoun, Iowa Code 279.78.3.

       Next, the Final Rule aims to preempt state laws separating intimate spaces based on biol-

ogy. The Final Rule does not modify the text of 34 C.F.R. 106.33, which allows “separate toilet,

locker room, and shower facilities on the basis of sex.” But the Final Rule’s de-minimis-harm

standard prohibits funding recipients from “prevent[ing] a person from participating in an educa-

tion program or activity consistent with the person’s [claimed] gender identity,” even in other-

wise sex-separated facilities such as bathrooms or showers. 34 C.F.R. 106.31(a)(2); 89 Fed.

Reg. 33,816, 33,819-20. Consequently, if a male identifies as a female, a funding recipient must

allow him to use the women’s restroom, locker room, or shower area. The Final Rule thereby

preempts: (1) Arkansas law requiring school restrooms, locker rooms, changing rooms, and

shower rooms to be designated for use based on biological sex, Ark. Code Ann. 6-21-120(b)(1);

(2) Arkansas law requiring schools ensure that during overnight trips students do not share sleep-

ing quarters with members of the opposite sex, Ark. Code Ann. 6-10-137(a); (3) Iowa law requir-

ing school restrooms, locker rooms, changing areas, and shower rooms to be designated for use

based on a person’s biological sex, Iowa Code 280.33.2; (4) Nebraska’s Equal Opportunity in

Education Act, which allows schools to provide separate restrooms and locker rooms based on

sex, Neb. Rev. Stat. 79-2,124; and (5) North Dakota’s law requiring that school restrooms and

showers be designated for use based on sex, N.D.C.C. 15-10-68(1); see also Pls.’ PI Br. at 40-41.

       The Final Rule’s anti-discrimination provision also aims to preempt state sports laws,

though Defendants do at least attempt to deny this conflict. In 34 C.F.R. 106.10, the Final Rule

universally redefines sex discrimination to include gender-identity discrimination, and that re-

definition applies to 34 C.F.R. 106.41(a)’s athletics anti-discrimination provision. Nor does the



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attempted sports carveout in new 34 C.F.R. 106.31(a)(2) mention the athletics anti-discrimina-

tion provision in 34 C.F.R. 106.41(a). So by its express terms (“Except as provided elsewhere in

this part . . .”), the de-minimis-harm standard in § 106.31(a)(1) applies to the athletics anti-dis-

crimination provision in 34 C.F.R. 106.41(a). And Defendants already insist that Title IX’s gen-

eral nondiscrimination rule requires that result. See Br. for the U.S. as Amicus Curiae in Supp.

of Pl.-Appellant and Urging Reversal at 27, B.P.J. ex. rel. Jackson v. W. Va. State Bd. of Educ.

(BPJ Amicus Brief), 98 F.4th 541 (4th Cir. 2024) (Nos. 23-1078, 23-1130), 2023 WL 2859726

(interpreting 34 C.F.R. 106.41(a) to require schools to admit males who identify as female into

women’s sports).

        That means that even though a funding recipient might (under the text of the athletics

provisions) validly distinguish between sexes, they may not—under the de-minimis-harm stand-

ard—“[a]dopt a policy or engag[e] in a practice that prevents a person from participating in an

education program or activity consistent with the person’s gender identity.” 34 C.F.R.

106.31(a)(2). Thus, where recipients separates teams or competitors based on sex, practically

speaking, the Final Rule requires they do so based on a student’s professed gender identity. That

would preempt: (1) Arkansas’s Fairness in Women’s Sports Act, Ark. Code Ann. 6-1-107(c); (2)

Mo. Rev. Stat. 163.048(3); (3) Iowa Code 261I.1–.2; (4) N.D.C.C. 15-10.6-01–03; and (5)

S.D.C.L. 13-67-1, all of which require sports teams and competitions to be designated as (1) for

females; (2) for males; or (3) coeducational—based on biological sex, not gender identity—and

which categorically bar male students from participating in female-designated athletic teams or

competitions, even if those males claim a female gender identity.

       The inability to enforce these laws injures Plaintiff States. Both courts that have ad-

dressed standing in a challenge to the Final Rule had little trouble concluding that the Final



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Rule’s preemption of conflicting state laws was a cognizable Article III injury. See Tennessee v.

Cardona, No. CV 2: 24-072-DCR, 2024 WL 3019146, at *30 (E.D. Ky. June 17, 2024) (holding

state plaintiffs had standing where “state officials would be forced to choose between enforcing

their own laws, essentially protecting their independent quasi-sovereign and sovereign interests,

or violating the Title IX gender identity mandate”); State of Kansas v. United States Dep’t of

Educ., No. 24-4041-JWB, 2024 WL 3273285, at *6 (D. Kan. July 2, 2024) (holding state plain-

tiffs demonstrated standing because the Department “seeks to regulate Title IX in a manner that

is not compatible with their state laws”). The Sixth Circuit similarly held recently that a state co-

alition (which included all but one of Plaintiff States here) had standing to challenge the Biden

administration’s Title IX guidance due to that guidance’s purported preemption of various states’

laws. State of Tennessee v. Dep’t of Educ., No. 22-5807, 2024 WL 2984295, at *10 (6th Cir.

June 14, 2024) (“[T]he sovereign injury here—a state’s ability to enforce its laws, particularly

over a traditional sovereign prerogative like education—is sufficient to confer standing.”); see

also Texas v. Cardona, No. 4:23-CV-00604-O, 2024 WL 2947022, at *13 (N.D. Tex. June 11,

2024) (holding that Texas had standing to challenge the Title IX guidance because the guidance

conflicted with a Texas law “that requires student athletes to compete according to their biologi-

cal sex”).

       The injury to Plaintiff States’ sovereignty from not being able to enforce their duly en-

acted laws—standing alone—is a sufficiently cognizable injury-in-fact.

               2.      Plaintiff States face injuries as regulated parties.

       Plaintiff States also have standing to sue because their state instrumentalities—public

universities and public schools—are injured by the Final Rule.




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       Universities. Seventy years ago, the Supreme Court held that the State of Arkansas could

bring suit based on injuries to one of its state universities. See Arkansas v. Texas, 346 U. S. 368,

370 (1953). The Court recently reaffirmed that holding in Biden v. Nebraska and further clari-

fied that, for purposes of Article III standing, a state “seek[s] to protect its own interests” when it

sues to redress an injury suffered by a public instrumentality. 143 S. Ct. 2355, 2367 (2023).

Here, Plaintiff States sue to redress injuries caused to them through the Final Rules’ application

to various classes of state instrumentalities. See Kansas, 2024 WL 3273285, at *7 (“Plaintiff

States have standing due to the alleged injuries to their state universities.”).

       As in Arkansas v. Texas, all of Plaintiff States operate public universities. See, e.g., Ark.

Code Ann. 6-64-202 (establishing the University of Arkansas); Mo. Rev. Stat. 172.020 (Univer-

sity of Missouri); Iowa Code 262.7 (establishing the state board of regents to govern the Univer-

sity of Iowa); Neb. Rev. Stat. 86-101 et seq (establishing the University of Nebraska); N.D.C.C.

15-10-01.2 (establishing the “North Dakota university system”); S.D.C.L. 13-57-1 (establishing

the University of South Dakota). All these state universities are federal funding recipients sub-

ject to Title IX. See, e.g., Doe v. Univ. of Arkansas - Fayetteville, 974 F.3d 858, 869 (8th Cir.

2020) (holding that the plaintiff demonstrated a “facially plausible claim against the University

under Title IX”); Doe v. Univ. of Missouri, No. 19-CV-04229-NKL, 2022 WL 4043458, at *3

(W.D. Mo. Aug. 30, 2022); Ohlensehlen v. Univ. of Iowa, 509 F. Supp. 3d 1085, 1090 (S.D.

Iowa 2020); Doe v. Bd. of Regents of Univ. of Nebraska, No. 4:21CV3049, 2023 WL 2351687,

at *4 (D. Neb. Mar. 3, 2023); Berndsen v. N. Dakota Univ. Sys., 7 F.4th 782, 790 (8th Cir. 2021);

Orr v. S. Dakota Bd. of Regents, No. 1:19-CV-01023-CBK, 2023 WL 3484207, at *9 (D.S.D.

May 16, 2023). Injuries suffered by these universities on account of the Final Rule are injuries

suffered by Plaintiff States for purposes of Article III standing.



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       Schools. Plaintiff States assert the injuries of the K-12 schools for which they are respon-

sible and which will be subject to the Final Rule. See Tennessee, 2024 WL 3019146 at *28-30

(holding that states demonstrated standing based on injuries to their public schools). Several of

Plaintiff States also operate public schools directly through state instrumentalities. To name but

one example, “[t]he Board of Trustees of the Arkansas School for the Blind and the Arkansas

School for the Deaf . . . is charged with the management and control of the Arkansas School for

the Blind and the Arkansas School for the Deaf.” Ark. Code Ann. 6-43-102. The Board shares

all the hallmarks of a state educational instrumentality identified by the Supreme Court in Arkan-

sas. It was “created by the Arkansas legislature, is governed by a Board of Trustees appointed

by the Governor with consent of the Senate,” and “must report all of its expenditures to the legis-

lature.” Arkansas, 346 U.S. at 370; see Ark. Code Ann. 6-43-101(a) (establishing the Board); id.

-101(b)(2) (appointment by Governor with advice and consent of the Senate); id. -223 (mandat-

ing biennial reports to the Arkansas General Assembly). Further, “the State owns all the prop-

erty used by the” Board. Arkansas, 346 U.S. at 370; see Ark. Code Ann. 6-43-302 (providing

that the Board “may take and hold in trust for the state to the use of the Arkansas School for the

Deaf any lands conveyed or devised and any money or other personal property given or be-

queathed, to be applied to the use and benefit of the school”). The Board is also “charged with

the management and control of” both of those two “institutions of the State of Arkansas.” Ark.

Code Ann. 25-17-202. Finally, “a suit against the [Board] is a suit against the State.” Arkansas,

346 U.S. at 370; see Bd. of Trustees of Univ. of Arkansas v. Andrews, 2018 Ark. 12, 5 (2018)

(holding that suits against “an instrumentality of the State” is barred by sovereign immunity).

The other Plaintiff States likewise operate similar schools. See Mo. Rev. Stat. 162.730(2) (Mis-

souri School for the Deaf and Missouri School for the Blind); N.D.C.C. 25-06-01 (North Dakota



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school for the blind); N.D.C.C. 25-07-01 (North Dakota school for the deaf); S.D.C.L. 13-61-1

(South Dakota School for the Blind and Visually Impaired). These schools are all federal fund-

ing recipients and will therefore be subject to the Final Rule. See, e.g., Doe ex rel. Doe v.

Barger, 193 F. Supp. 2d 1112, 1118 (E.D. Ark. 2002).

       Moreover, Plaintiff States are each obligated by their state constitutions to provide K-12

education to their citizens. See Ark. Const., art. 14, sec. 1; Mo. Const., art. IX secs. 1(a); Neb.

Const., art. VII, sec. 1; N.D. Const. Art. 8, sec. 6; S.D. Const., art. 8, sec. 1. See Tennessee, 2024

WL 3019146 at *28-30 (reviewing similar constitutional provisions). Arkansas, for example,

has 1,058 public schools among 237 school districts. See Arkansas K-12 Profile: 2023-2024,

Ark. Dep’t of Educ., available at https://adedata.arkansas.gov/Ark12. Public school districts in

Arkansas are political subdivisions of the state, created by the state to further Arkansas’s public

purpose in providing education to its citizens. Ark. Code Ann. 6-13-1505 (school districts cre-

ated by order of the State Board of Education). The State Board of Education, along with the Ar-

kansas General Assembly, “prescribe[] the “qualifications and duties” of school superintendents,

Ark. Code Ann. 6-13-109(a), who serve as the “executive officer of a school district board of di-

rectors directing the affairs of the school district,” id. -109(b). And, at times, the State may as-

sume direct control of a school district. See Ark. Code Ann. 6-13-112. Like universities, school

districts “serve[] a public purpose, acting as the State’s agent in the educational field.” Ne-

braska, 143 S. Ct. at 2367 (cleaned up). Plaintiffs States’ public schools are likewise federal

funding recipients (to the tune of billions of dollars) subject to Title IX. See Compl. ¶¶ 84-89.

Injuries suffered by these public schools are thus injuries suffered by Plaintiff States for Article

III standing purposes.




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        In sum, then, Plaintiff States suffer an injury-in-fact in two critical ways because they are

regulated by the Final Rule. First, Plaintiff States—through their educational instrumentalities—

are directly regulated by the Final Rule. “Government regulations that require or forbid some

action by the plaintiff almost invariably satisfy both the injury in fact and causation require-

ments.” Food & Drug Admin. v. All. for Hippocratic Med., 602 U.S. 367, 382 (2024) see also

Iowa League of Cities v. E.P.A., 711 F.3d 844, 871 (8th Cir. 2013) (holding that where “a chal-

lenger is the subject of agency action, ‘there is ordinarily little question that the action . . . has

caused [it] injury.’” (quoting Defs. Of Wildlife, 504 U.S. at 561-62); Corbett v. Transp. Sec. Ad-

min., 19 F.4th 478, 483 (D.C. Cir. 2021) (standing of regulated parties “usually self-evident”)).

That is because parties “have a concrete interest . . . in avoiding regulatory obligations above and

beyond those that can be statutorily imposed upon them.” Iowa League, 711 F.3d at 871. De-

fendants cannot dispute that the Final Rule represents a staggering change in Title IX enforce-

ment that will impose new obligations on Plaintiff States and their instrumentalities. As the Kan-

sas court observed, “new duties are imposed under the Final Rule that were not required under

the prior regulations. The States must now investigate allegations of sex discrimination based on

gender identity discrimination. The States must comply with the requirement of new policies in

accordance with the Final Rule and hire Title IX coordinators to make sure the policies are car-

ried out.” Kansas, 2024 WL 3273285, at *7. Plaintiff States have standing to seek redress for

the injury of being illegally subjected to these additional regulatory burdens.

        Second, Plaintiff States are injured by the prospect of losing billions of dollars in federal

funding. See Dep’t of Com. v. New York, 139 S. Ct. 2551, 2565 (2019) (future loss of federal

funds sufficient to establish standing). Defendants don’t dispute that failure to abide by the Final

Rule can result in “the termination of or refusal to grant or to continue assistance,” i.e., federal



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funding, to the recipient. 20 U.S.C. 1682. See also Kansas, 2024 WL 3273285 (holding that

states demonstrated standing because they are “are threatened with a loss of federal funding if

they fail to comply with the Final Rule”); Tennessee, 2024 WL 3019146 (holding that states

demonstrated standing because they “would be forced to abandon enforcement of their own laws

or risk the loss of federal funding because they operate education programs and activities that re-

ceive federal financial assistance within the meaning of Title IX through state level agencies and

local subdivisions”) (cleaned up); State of Tennessee, 2024 WL 2984295, at *6 (holding that the

Title IX guidance’s “threaten[ing of] the States’ educational institutions with financial penalties,

specifically the revocation of federal funds, if they don’t comply with the policies . . . is an injury

to the States as proprietors of their educational institutions and is sufficient to confer standing”).

If “an identifiable trifle will suffice” for standing purposes, the billions of dollars Plaintiff States

stand to lose due to the Final Rule easily chin the bar. Sierra Club v. U.S. Army Corps of Engi-

neers, 645 F.3d 978, 988 (8th Cir. 2011).

        B.      A.F. is injured by the Final Rule.

        As noted above, because Plaintiff States have standing, that should conclude the matter

under Article III. Kansas, 2024 WL 3273285, at *6 n.3 (applying same logic to similar Title IX

lawsuit). Here, A.F and the States seek the same relief. But A.F. is also independently injured by

the Final Rule’s evisceration of longstanding protections for women and girls and its imposition

of the gender-identity mandate. She attends a public high school in Arkansas which is a recipi-

ent of federal funds. Should the Final Rule be allowed to take effect and its mandates forced

upon school districts, A.F.’s school will be forced to abide by the Final Rule’s gender-identity

mandate.




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       As explained above and in Plaintiffs’ preliminary-injunction briefing, the Final Rule both

compels and prohibits speech in violation of the First Amendment. Defendants don’t disclaim

that A.F. could be subject to sanction under the Final Rule for expressing her beliefs regarding

biological sex and her refusal to use pronouns or titles inconsistent with a person’s sex. See A.F.

Decl. ¶ 40-41. In fact, Defendants have elsewhere taken the position that teachers must use these

inaccurate pronouns. See Tennessee, 2024 WL 3019146 at *20-22 (summarizing these positions).

That logic imperils students too. And A.F. suffers an injury whenever her First Amendment

rights are curtailed. See Elrod v. Burns, 427 U.S. 347, 373-74 (1976). The Final Rule will do

just that. The court in Kansas had before it claims by a public-school student like A.F. That stu-

dent also attested to her religious view “that that there are two sexes, a person’s sex cannot be

changed, and that [she] believe[s] that [she] must use pronouns which align with a person’s bio-

logical sex.” Kansas, 2024 WL 3273285, at *7. That court had no trouble concluding that she

had standing to challenge the Final Rule due to her “fear[] that [she] would be subject to investi-

gation and potential discipline for continuing to speak [her] views.” Id. The same is true here.

       Further, A.F. will further suffer a cognizable injury if she is forced to share a locker

room, restroom, or shower with a male student. A.F. Decl. ¶¶ 47-51. While an injury to A.F.’s

interest in shielding her body from the opposite sex in sensitive places is intangible, the Supreme

Court has held that “intangible injuries can nevertheless be concrete” for Article III purposes.

Spokeo, Inc. v. Robins, 578 U.S. 330, 340 (2016). “[I]t is instructive to consider whether an al-

leged intangible harm has a close relationship to a harm that has traditionally been regarded as

providing a basis for a lawsuit in English or American courts.” Id. at 341. Applying Spokeo, the

Eleventh Circuit has recognized standing may be based on an analogous injury to the “tort of in-

trusion upon seclusion,” which creates liability for invasions of privacy that would be “highly



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offensive to a reasonable person.” Salcedo v. Hanna, 936 F.3d 1162, 1171 (11th Cir. 2019) (cit-

ing Restatement (Second) of Torts sec. 652B)); see also Bassett v. Credit Bureau Servs., Inc., 60

F.4th 1132, 1136 (8th Cir. 2023) (recognizing injuries analogous to the torts of “[i]nfliction of

emotional distress and intrusion upon seclusion”); Melito v. Experian Mktg. Sols., Inc., 923 F.3d

85, 93 (2d Cir. 2019) (upholding standing based on privacy and seclusion injury); Van Patten v.

Vertical Fitness Grp., LLC, 847 F.3d 1037, 1043 (9th Cir. 2017) (same); Susinno v. Work Out

World Inc., 862 F.3d 346, 351 (3d Cir. 2017). A Plaintiff suffers a cognizable injury where

“where an intrusion on h[er] privacy is objectively serious and universally condemnable.”

Salcedo, 936 F.3d at 1171. A 15-year-old girl being forced to share a sensitive area—here, a

changing area, bathroom, or shower—with a male is a sufficiently serious invasion of histori-

cally understood privacy interests to satisfy Article III.

       A.F. will also be injured by a loss of athletic opportunities if she is forced to play along-

side and against males. Federal courts have recognized, especially in the Title IX context, that

the loss of athletic opportunities is a sufficiently cognizable injury for Article III standing. See

McCormick ex rel. McCormick v. Sch. Dist. of Mamaroneck, 370 F.3d 275, 284 (2d Cir. 2004);

Pederson v. Louisiana State Univ., 213 F.3d 858, 871 (5th Cir. 2000). Males have inherent

physical advantages over females, especially in a sport like basketball where height, size, and up-

per body strength are advantages. Id. ¶ 24. A.F. also worries about the increased potential for

injury if she were forced to play against male students. Id. ¶¶ 25, 29, 30. Arkansas law currently

prevents males from competing in female-designated sports teams. See Ark. Code Ann. 6-1-

107(c). This means that A.F. competes against only female teammates for athletic opportunities

such as starting positions and playing time. When A.F.’s basketball team competes against

teams from other Arkansas schools, they compete against other female students only.



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       As explained above, despite Defendants’ protestations to the contrary, the Final Rule will

prevent funding recipients from denying males a place on girls’ sports teams. If the Final Rule

takes effect, A.F. and other girls will be forced to compete alongside and against male athletes,

eviscerating the athletic opportunities Title IX was intended to provide. That is a sufficiently

cognizable injury to establish standing.

       C.      Plaintiffs’ injuries are sufficiently imminent.

       For a future injury to be sufficiently imminent, a plaintiff must demonstrate “‘a credible

threat’ of enforcement.” Susan B. Anthony List v. Driehaus, 573 U.S. 149, 161 (2014) (citation

omitted). A plaintiff bringing a pre-enforcement challenge “satisfies the injury-in-fact require-

ment where he alleges ‘an intention to engage in a course of conduct arguably affected with a

constitutional interest, but proscribed by a statute, and there exists a credible threat of prosecu-

tion thereunder.’” Id. at 159 (quoting Babbitt v. Farm Workers, 442 U.S. 289, 298 (1979)). De-

fendants may claim that the injuries suffered by Plaintiffs are too speculative to establish stand-

ing. Not so.

       Defendants may claim that, although the Department has the ability to terminate federal

funding for recipients who do not comply with the Final Rule, that it will choose not to do so.

The Sixth Circuit recently considered (and rejected) a similar argument in the challenge to the

Title IX guidance. There, the government claimed that it would not enforce the guidance docu-

ments against the states, so they would not be injured. State of Tennessee, 2024 WL 2984295, at

*5 n.8. The Sixth Circuit held that this was in essence “a voluntary cessation argument in dis-

guise.” Id. And “Courts are rightly skeptical about taking a party at its word that it will not en-

force something when enforcement is within its discretion.” Id. The district court in Tennessee

similarly rejected an implication by Defendants that they have not previously terminated funding



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due to a Title IX violation; it held that this was insufficient to defeat standing because “it is no

guarantee that the Department will not do so in the future.” Tennessee v. Cardona, No. CV 2:

24-072-DCR, 2024 WL 3019146, at *41 (E.D. Ky. June 17, 2024). Indeed, courts “normally do

not require plaintiffs to bet the farm by taking the violative action before testing the validity of

the law.” State of Tennessee, 2024 WL 2984295, at *5 n.8. That is especially true when billions

of dollars of education funding are on the line.

       Finally, any litigation position by Defendants that they don’t intend to fully enforce the

Final Rule is contradicted by the rule itself. 89 Fed. Reg. at 33,841 (noting the Department’s

“obligation[] to fully enforce Title IX’s nondiscrimination mandate”); see also Texas, 2024 WL

2947022, at *13 (holding that “Texas faces a substantial risk of imminent enforcement” where

“the Guidance Documents unambiguously state the Department’s intent to ‘fully enforce’ its ex-

panded interpretation of Title IX”). Plaintiffs have demonstrated harms that are imminent; in-

deed, they will begin as soon as the Final Rule becomes effective on August 1, absent prelimi-

nary relief from this Court.

II.    Plaintiffs have established both traceability and redressability.

       The traceability and redressability elements “are closely related, and can be viewed as

two facets of a single requirement.” Scenic Am., Inc. v. U.S. Dep’t of Transp., 836 F.3d 42, 54

(D.C. Cir. 2016). “For causation to exist, the injury has to be fairly traceable to the challenged

action of the defendant, and not the result of the independent action of some third party not be-

fore the court.” Agred Found. v. U.S. Army Corps of Eng’rs, 3 F.4th 1069, 1073 (8th Cir. 2021).

       Defendants may argue that Plaintiffs’ injuries are not traceable to the Final Rule, but

merely to the Supreme Court’s decision in Bostock and the Text of Title IX itself. See Defs.’ PI

Br. at 11-12; State of Tennessee, 2024 WL 2984295, at *6 n.10 (rejecting this argument in the



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context of the Title IX guidance). That doesn’t fly. For one, the Final Rule explicitly acknowl-

edges changing the Department’s standard for sexual harassment from the Davis standard to a

more relaxed one. 89 Fed. Reg. at 33,510-11. And the Department cannot help but acknowledge

that its de-minimis-harm standard forces funding recipients to allow individuals to use a bath-

room, locker room, or shower facility consistent with his or her self-professed gender identity ra-

ther than his or her sex. Without that modification, the Department’s regulations still allow sex-

separated bathrooms, locker rooms, and showers. See 34 C.F.R. 106.33.

         Finally, to the extent Defendants may argue that Bostock compels the Department’s gen-

der-identity-based rewrite of sex discrimination, its litigation decisions belie that assertion. De-

fendants have now sought partial stays pending appeal of the preliminary injunctions issued in

both the Tennessee and Louisiana cases. And in each case, Defendants are asking the courts to

reinstate the Final Rule’s definition of sex discrimination—on an emergency basis so that they

can enforce their rewrite of the law. Tennessee v. Cardona, No. 2:24-cv-00072-DCR-CJS, ECF

No. 104 (E.D. Ky. June 24, 2024), stay denied in Order, ECF No. 117 (July 10, 2024); State of

Louisiana, et al. v. U.S. Dep’t of Educ., et al., 3:24-cv-00563, ECF No. 59 (W.D. La. June 24,

2024).

         In sum, there’s no dispute that an injunction preventing the Final Rule from taking effect

would redress Plaintiffs’ injuries. Indeed, two federal court courts have already concluded as

much, and this Court should follow suit.




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                                           CONCLUSION

       For the foregoing reasons, Plaintiffs have standing to challenge the Final Rule.



Dated: July 12, 2024                         Respectfully submitted,


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